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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                           HARRISONBURG DIVISION


                                                           Action No: 3:17cv00072
   ELIZABETH SINES, ET AL                                  Date: 8/8/2019
   vs.                                                     Judge: Joel C. Hoppe, USMJ
                                                           Court Reporter: Karen Dotson, FTR
   JASON KESSLER, ET AL
                                                           Deputy Clerk: Karen Dotson



   Plaintiff Attorney(s)                           Defendant Attorney(s)
   Gabrielle Tenzer, Michael Bloch,                Elliot Kline, pro se, present by phone
   Yotam Barkai, Jessica Phillips – present by
   phone



                                     LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                           DEFENDANT:
   1.                                              1.



  PROCEEDINGS:
  Parties discuss Mr. Kline’s compliance with court order
  Mr. Kline to review emails and to provide to plaintiffs’ counsel
  Mr. Kline to provide new phone number to plaintiffs’ counsel and to the court by Aug. 9




  Time in Court: 4:35 pm – 4:02 pm = 27 minutes
